
50 Cal.App.2d 856 (1942)
BENITO MACIOS GALVAN et al., Appellants,
v.
EDWIN W. BARNETT et al., Respondents.
Civ. No. 13520. 
California Court of Appeals. Second Dist., Div. Two.  
Mar. 25, 1942.
 Samuel Mirman and Samuel Rubenstein for Appellants.
 Frank Karr, E. E. Morris, C. W. Cornell, O. O. Collins and Randolph Karr for Respondents.
 Memorandum
 THE COURT.
 The respondents having filed their motion to dismiss the appeal in the above entitled matter, supported by a certificate of the clerk of the superior court setting forth the facts required by rule VI of this court, and it appearing that all of the grounds stated in the motion are supported by said certificate and by the authorities cited.
 It is hereby ordered that this appeal be, and it is, hereby dismissed. *857
